                                    OFFICE OF THE CIRCUIT MEDIATORS
                              UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                     331 POTTER STEWART U.S. COURTHOUSE
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SCOTT COBURN
JOHN A. MINTER
                                              January 16, 2025

Sheng Tao Li
Michael S. Raab
Sarah Nicole Smith

Re: Mackinac Center for Public Policy v. U.S. Department of Education, et al, CA No. 24-1784

Dear Counsel:

       Pursuant to Rule 33 of the local Rules of the Sixth Circuit, the briefing schedule for this appeal has
been extended. The briefs must be filed electronically with the Clerk’s Office no later than these dates. If
the appellant’s principal brief is filed late, the case is at risk of being dismissed for want of prosecution.
The modified schedule is as follows:

       Appellant’s Brief                      Filed electronically by April 7, 2025
       Appendix (if required by
       6th Cir. R. 30(a) and (c))

       Appellee’s Brief                       Filed electronically by May 8, 2025
       Appendix (if required by
       6th Cir. R. 30(a) and (c))

       Appellant’s Reply Brief                If multiple appellee briefs are filed, only one reply may be
       (Optional Brief)                       filed by appellants represented by the same attorney. The
                                              reply brief is due no later than 21 days after the last appellee
                                              brief is filed. See Fed. R. App. P. 26(c).

        For most appeals, the court will access directly the electronic record in the district court. However,
to determine if this appeal requires an appendix and how to prepare it, read the latest version of the Sixth
Circuit Rules at https://www.ca6.uscourts.gov, in particular Rules 28 and 30.

        A party desiring oral argument must include a statement in the brief setting forth the reason(s) why
oral argument should be heard. See 6 Cir. R. 34(a). If the docket entry for your brief indicates that you have
requested oral argument but the statement itself is missing, you will be directed to file a corrected brief.

       In scheduling appeals for oral argument, the court will make efforts to avoid dates that counsel have
previously brought to its attention as presenting a conflict during weeks when the court is scheduled to sit.
The court's sitting schedule may be found at http://www.ca6.uscourts.gov/oral-argument-calendars.
Because cases are set for calendar early in the case, counsel should provide as soon as possible any dates
of unavailability during the next nine months, preferably no later than the filing of the appellee’s brief.
Counsel should use the “Counsel Unavailability Form” located on the court’s website. If subsequent
conflicts arise, counsel should notify the court as soon as possible.

        The Federal Rules of Appellate Procedure, Sixth Circuit Rules, and relevant checklists are available
at https://www.ca6.uscourts.gov. If you still have questions after reviewing the information on the website,
please contact the Clerk’s Office before you file your briefs.

       For more detailed information concerning the filing of electronic briefs and oral argument,
please refer to your initial briefing letter sent to you from the Clerk’s Office.

                                                                    Sincerely,



                                                                    Scott Coburn

lmr

cc:    Virginia Padgett, Case Manager
